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                           Summary of Fees by Task Code Pg 1 of 3



                                                    EXHIBIT B
SUMMARY OF PROFESSIONAL SERVICES RENDERED BY PROJECT CATEGORY
BY CARPENTER LIPPS & LELAND LLP ON BEHALF OF THE DEBTORS FOR THE
           PERIOD JANUARY 1, 2013 THROUGH APRIL 30, 2012

                                           Compensation by Matter

     Task Code                  Matter Description                     Total Billed               Total
                                                                         Hours                 Compensation

    932-050            Restructuring                                               5.4                  $1,584.00
    932-053            Administrative                                             18.6                  $5,208.00
    932-054            SEC Post-Petition                                          37.0                  $8,146.00
    932-057            RMBS Trust Settlement1                                    295.9                 $69,427.00
    932-058            Securities Claims                                         122.7                 $35,974.00
    932-059            Monoline Claims2                                          699.3                $195,075.50
    932-060            ResCap Discovery Issues                                    53.6                 $12,184.50
    932-064            Examiner3                                               5,480.2              $1,227,658.00
    621-1122           Michael A. Fox                                              0.5                    $150.00
    621-1124           Nicholas Stincic                                            6.6                  $1,980.00
    621-1140           Freddie Hoop                                                0.1                     $30.00
    621-1145           James Walton, Jr.                                           0.7                    $210.00
    621-1155           National Remediation Project4                              14.5                  $3,980.00
    096-1009           Deborah A. Charity                                          6.9                  $1,700.00
    096-1011           Emily Bradac                                               51.9                 $12,703.50
    096-1012           Eric C. Rogers                                              4.0                    $910.00
    096-1029           Lamar Bridges5                                              2.4                    $720.00
    096-1030           Larry J. King                                               5.6                  $1,192.50

1
 These totals reflect the Debtors’ request for a reduction of $168.00 associated with this matter in January. It is
unknown how many hours were reduced, therefore the hours listed reflect the original total hours submitted.
2
 These totals reflect the Debtors’ request for a reduction of $196.00 associated with this matter in January. It is
unknown how many hours were reduced, therefore the hours listed reflect the original total hours submitted.
3
 These totals reflect the Applicants’ voluntary reduction of 0.6 hours and $96.00 associated with this matter in
January.
4
 These totals reflect the Debtors’ request for a reduction of $30.00 associated with this matter in January. It is
unknown how many hours were reduced, therefore the hours listed reflect the original total hours submitted.
5
 These totals reflect the Debtors’ request for a reduction of 1.4 hours and $420.00 associated with this matter in
February.
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096-1041      Patricia Joanne McNerney               3.8               $940.00
096-1044      Ray E. Potter                          0.2                $44.00
096-1045      Raymond Thomas                         9.7             $2,710.00
096-1048      Ronald McGinn                          3.7               $934.00
096-1058      Timothy Bryant                         1.2               $328.00
096-1061      Cleveland Housing Renewal
              Project                                0.1                $30.00
096-1062      Jamie L. Gindele                       0.1                $22.00
096-1097      Richard M. Guiliano                    0.4                $88.00
096-1112      Thang Nguyen                           0.2                $44.00
096-1116      Jack H. Donnelly                       2.0               $440.00
096-1127      Rebecca L. Folden                      3.8               $836.00
096-1145      Niesreen Abdalla                      39.6             $9,312.00
096-1149      Rosie Hart                             0.4                $80.00
096-1150      Melissa D. Lallo                      27.0             $5,765.00
096-1153      Danna Rogers                           2.2               $450.00
096-1157      Stephanie J. Ramm                      0.4               $100.00
096-1162      Susan E. Noel                          1.4               $324.00
096-1163      Elizabeth Campbell                     0.3                $70.00
096-1170      H. Marc Chrysler                       0.4                $80.00
096-1171      Jon G. Paglio                          6.3             $1,500.00
096-1172      William J. Barrett                     0.7               $180.00
096-1173      Price Hill Will                       90.3            $20,542.00
096-1175      Melissa Fox                            3.1               $706.00
096-1176      Mark R. Bernard                        0.4               $100.00
096-1181      Louise R. Young-Berdalla
                                                     2.1               $462.00
096-1183      Jamah Jackson                         26.6             $7,820.00
096-1185      Lisa M. Ramey                          3.7               $822.00
096-1189      Bernard Turzynski                      1.5               $300.00
096-1190      Richard J. Chang                       0.2                $40.00
096-1191      Evan D. Morgan                         0.5               $100.00
096-1192      Judith G. Bigelow                      9.1             $1,860.00
096-1198      Nancy M. Pannell                       2.1               $550.00
096-1199      Larry Crosser                          0.3                $60.00
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                           Summary of Fees by Task Code Pg 3 of 3



    096-1201           Robert D. Kehoe6                                             0.1                    $20.00
    096-1203           Caley Coleff                                                 2.4                   $480.00
    096-1207           Orlinda Beatty                                               0.6                   $120.00
    096-1209           Jesus Laboy                                                  0.1                    $20.00
    096-1212           Felix R. Aponte                                              0.4                   $100.00
    096-1213           Robert L. Rhodes                                             0.1                    $30.00
    096-1215           John V. Seel                                                 0.2                    $60.00
    096-1216           Robert H. Denny                                             35.5                 $6,828.00
    096-1220           Robert C. Luft                                               0.5                   $130.00
    096-1221           Richard E. Jackson                                           0.2                    $40.00
    096-1222           John M. Wysocki                                              0.2                    $40.00
    096-1223           Christopher C. Dubay                                         0.1                     $20.00
    096-1225           Gene Bucnaventura McKinley                                   0.3                     $70.00
                                         7
    096-1226           Amy Jo Abner                                                 0.1                     $20.00
    096-1227           Charles M. Lawler                                            0.1                     $20.00
    096-1228           Robert J. Baker                                              2.6                    $590.00
    096-1229           Mae Huggins                                                  2.8                    $620.00
    096-1230           Christine M. Falkosky
                                                                                    0.3                    $66.00
    096-1231           Robert S. Dinkins                                            7.1                 $1,570.00
    096-1232           Dale R. Earl                                                 4.2                 $1,140.00
    096-1233           John T. Walker                                               3.7                   $830.00
    096-1234           Kellie J. Boyer                                              5.3                 $1,140.00
    096-1235           Stanley Jackson                                             27.2                 $5,570.00
    096-1236           Chester Fitzsimmons                                          0.5                   $140.00
    096-1237           Charles Waller                                               8.9                 $1,980.00
    096-1238           Mary Hentley                                                 6.6                 $1,690.00


    Total Fees Incurred                                                     7,159.808              $1,659,806.00




6
  These totals reflect the Debtors’ request for a reduction of .10 hours and $30.00 associated with this matter in
February.
7
  These totals reflect the Debtors’ request for a reduction of 0.90 hours and $270.00 associated with this matter in
March.
8
  It is unknown which attorneys had their hours reduced as part of the $394.00 fee reduction in January. Therefore
the total hours shown do not reflect a reduction of hours for any attorneys with regard to the January invoices.
